    Case: 1:20-cv-03082 Document #: 54 Filed: 09/17/21 Page 1 of 5 PageID #:381




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

D. A., A.A., and Lucinda del Carmen          )
Padilla-Gonzales,                            )
                                             )
                Plaintiffs,                  )
                                             )
                v.                           )     Case No. 20-cv-3082
                                             )
The United States of America,                )
Heartland Alliance for Human Needs           )
and Human Rights, and Heartland              )
Human Care Services, Inc.,                   )
                                             )
                 Defendants.                 )     Hon. Martha M. Pacold

                               JOINT STATUS REPORT

      Plaintiffs, D.A., A.A., and Lucinda del Carmen Padilla-Gonzales, through

their counsel, Defendant United States of America, through its counsel, and

Defendants Heartland Alliance for Human Needs and Human Rights and

Heartland Human Care Services, Inc., through their counsel, hereby submit the

following joint status report:

      1.        On July 21, 2021, the Court order that its stay issued on May 19, 2021

“shall remain in place for the time being.” Dkt. 53. The Court ordered the parties to

submit a joint status report by September 17 to update the Court on the status of

settlement negotiations and to report any requested extensions or modifications of

the stay. Id.

      2.        Since that order, Plaintiffs and the United States have made

meaningful progress towards settlement and have met at least 12 times to further
    Case: 1:20-cv-03082 Document #: 54 Filed: 09/17/21 Page 2 of 5 PageID #:382




settlement efforts. Plaintiffs’ counsel and the United States, along with a group of

counsel who are coordinating negotiations on behalf of plaintiffs and claimants, are

engaged in a nationwide effort to settle district court cases and pending

administrative tort claims arising from family separations at the U.S./Mexico

border that occurred during the prior administration. While progress has been

made, due to the scale and complexity of the effort, additional time is needed to

achieve a resolution of these matters.

      3.     Accordingly, Plaintiffs and the United States jointly request that the

stay entered as to Plaintiffs’ claims against the United States should be extended by

another 60 days—up to and including November 16, 2021.

      4.     With respect to the Heartland Defendants, Plaintiffs and the

Heartland Defendants jointly request that the Court make a referral to Magistrate

Judge Cox, the magistrate judge assigned to this case, for the purposes of holding a

settlement conference as to Plaintiffs’ claims against the Heartland Defendants.

      5.     Since the stay was entered, counsel for Plaintiffs and the Heartland

Defendants engaged in further settlement discussions but were not successful in

achieving resolution of those claims. The Heartland Defendants proposed that the

matter be referred to Magistrate Judge Cox for further mediation. Plaintiffs

considered this proposal and agreed to attempt to resolve their claims against the

Heartland Defendants via mediation before a magistrate judge.




                                           2
    Case: 1:20-cv-03082 Document #: 54 Filed: 09/17/21 Page 3 of 5 PageID #:383




       6.     Accordingly, the parties agree that a referral to Magistrate Judge Cox

to hold a settlement conference1 with Plaintiffs and the Heartland Defendants

would be beneficial at this time.

                       [SIGNATURES ON FOLLOWING PAGE]




       1 Plaintiffs currently live in North Carolina. Because of concerns related to the
pandemic and health of Plaintiffs, as well as Plaintiffs’ school and work schedules,
Plaintiffs will need to attend any settlement conference remotely.


                                               3
    Case: 1:20-cv-03082 Document #: 54 Filed: 09/17/21 Page 4 of 5 PageID #:384




                                              Respectfully submitted,

                                              /s/ Sarah Grady
                                              Sarah Grady
                                              Attorney for Plaintiffs

Anand Swaminathan                             Conchita Cruz
Sarah Grady                                   Zachary Manfredi
Steve Weil                                    Asylum Seeker Advocacy
Loevy & Loevy                                 Project
311 North Aberdeen St., 3rd Fl.               228 Park Ave., Ste. 84810
Chicago, IL 60607                             New York, NY 10003
(312) 243-5900                                (248) 840-0744


                                              /s/ Philip MacWilliams
                                              Philip MacWilliams
                                              Attorney for the United States of
                                              America

Philip D. MacWilliams
Trial Attorney
U.S. Department of Justice
Civil Division, Torts Branch
Benjamin Franklin Station, P.O. Box 888
Washington, DC 20044
(202) 616-4285
phil.macwilliams@usdoj.gov

                                              /s/ Kurt Mathas
                                              Kurt Mathas
                                              Attorney for the Heartland
                                              Defendants
Kurt Mathas
Nasir Hussain
Saranya Raghavan
Winston & Strawn LLP 35
West Wacker Dr.
Chicago, IL 60601
(312) 558-5600
kmathas@winston.com


                                          4
    Case: 1:20-cv-03082 Document #: 54 Filed: 09/17/21 Page 5 of 5 PageID #:385




                         CERTIFICATE OF SERVICE

       I, Sarah Grady, an attorney, hereby certify that on September 17, 2021, I
caused a copy of the foregoing to be filed using the Court’s CM/ECF system, which
effected service on all counsel of record.


                                             /s/ Sarah Grady
                                             Sarah Grady
                                             Attorney for Plaintiffs




                                         5
